

U.S. Bank N.A. v Mangroo (2021 NY Slip Op 07020)





U.S. Bank N.A. v Mangroo


2021 NY Slip Op 07020


Decided on December 15, 2021


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 15, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

CHERYL E. CHAMBERS, J.P.
BETSY BARROS
PAUL WOOTEN
DEBORAH A. DOWLING, JJ.


2018-06979
 (Index No. 17714/08)

[*1]U.S. Bank National Association, etc., appellant, 
vMahendranauth Mangroo, et al., respondents, et al., defendants.


Reed Smith LLP, New York, NY (Michael V. Margarella of counsel), for appellant.
Bilosi Law Group, P.C., New York, NY (Aveet Basnyat of counsel), for respondents.
In an action to foreclose a mortgage, the plaintiff appeals from an order of the Supreme Court, Queens County (Bernice D. Siegal, J.), entered January 23, 2018. The order directed a hearing to determine the validity of service of process on the defendants Mahendranauth Mangroo and Maureen Manoo.



DECISION &amp; ORDER
Motion by the defendants Mahendranauth Mangroo and Maureen Manoo, in effect, to dismiss the appeal on the ground that no appeal lies as of right from an order that directs a hearing to aid in the disposition of a motion and leave to appeal has not been granted. By decision and order on motion of this Court dated October 28, 2020, the motion was held in abeyance and referred to the panel of Justices hearing the appeal for determination upon the argument or submission thereof.
Upon the papers filed in support of the motion, and no papers having been filed in opposition or in relation thereto, and upon the argument of the appeal, it is
ORDERED that the motion is granted; and it is further,
ORDERED that the appeal is dismissed, with costs.
The appeal from the order directing a hearing to determine the validity of service of process on the defendants Mahendranauth Mangroo and Maureen Manoo must be dismissed. The order merely directs a judicial hearing to aid in the disposition of a motion and does not affect a substantial right. Therefore, it is not appealable as of right (see CPLR 5701[a][2][v]; Wells Fargo Bank, N.A. v Santos, 192 AD3d 851; Bank of N.Y. v Segui, 120 AD3d 1369, 1370), and leave to appeal has not been granted.
CHAMBERS, J.P., BARROS, WOOTEN and DOWLING, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








